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,
                                UNITED STATES DISTRICT COURT
                                FOR THE DISTRICT OF COLUMBIA


    UNITED STATES OF AMERICA

                  v.                                   Case No. 1:21-cr-00505 (RCL)

    ISAAC SAMUEL YODER,

                           Defendant.

                                    SCHEDULING ORDER

           Upon consideration of the parties' proposed joint request, it is this   "'?-'f.,....day of

    M-. ""'-2023 hereby:

           ORDERED that the parties shall file their Proposed Findings of Fact and Conclusions

    of Law by April 25, 2023.

           SO ORDERED.




                                               HONORABLE ROYCE C. LAMBERTH
                                               United States District Judge
